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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-3190                                                September Term, 2023
                                                                    1:23-cr-00257-TSC-1
                                                  Filed On: November 20, 2023 [2027866]
United States of America,

             Appellee

      v.

Donald J. Trump,

             Appellant

      BEFORE:      Circuit Judges Millett, Pillard, and Garcia


                   COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Monday, November 20, 2023 at
9:33 a.m. The cause was heard as case No. 1 of 1 and argued before the Court by:

     D. John Sauer, counsel for Appellant.
     Cecil W. VanDevender (DOJ), counsel for Appellee.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Anne A. Rothenberger
                                                         Deputy Clerk
